 Case 20-18205-SLM            Doc 31 Filed 07/21/21 Entered 07/22/21 00:13:20                        Desc Imaged
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Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 20−18205−SLM
                                         Chapter: 13
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Cheryl P. Manuel
   23 W. 49th Street
   Bayonne, NJ 07002
Social Security No.:
   xxx−xx−7072
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 7/19/21.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: July 19, 2021
JAN: ntp

                                                                  Jeanne Naughton
                                                                  Clerk
      Case 20-18205-SLM                      Doc 31 Filed 07/21/21 Entered 07/22/21 00:13:20                                             Desc Imaged
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 20-18205-SLM
Cheryl P. Manuel                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 19, 2021                                               Form ID: 148                                                              Total Noticed: 13
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 21, 2021:
Recip ID                 Recipient Name and Address
db                     + Cheryl P. Manuel, 23 W. 49th Street, Bayonne, NJ 07002-4008
518927640              + Cenlar FSB, Attn BK Dept, 425 Phillips Blvd., Ewing, NJ 08618-1430
519169041                Freedom Mortgage Corporation, 10500 Kincaid Drive, Fishers, IN 46037-9764
519169042                Freedom Mortgage Corporation, 10500 Kincaid Drive, Fishers, IN 46037-9764, Freedom Mortgage Corporation, 10500 Kincaid Drive
                         Fishers, IN 46037-9764
518885430              + Homebridge, Attn: Bankruptcy, PO Box 77404, Ewing, NJ 08628-6404
518885431              + Liberty Savings FCU, Attn: Bankruptcy, 666 Newark Ave, Jersey City, NJ 07306-2398

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jul 19 2021 20:22:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jul 19 2021 20:22:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + EDI: RMSC.COM
                                                                                        Jul 20 2021 00:23:00      Synchrony Bank c/o PRA Receivables
                                                                                                                  Management, LLC, PO BOX 41021, Norfolk, VA
                                                                                                                  23541-1021
518889679                 EDI: AGFINANCE.COM
                                                                                        Jul 20 2021 00:23:00      ONEMAIN, P.O. BOX 3251, EVANSVILLE, IN
                                                                                                                  47731-3251
518885432              + EDI: AGFINANCE.COM
                                                                                        Jul 20 2021 00:23:00      OneMain Financial, Attn: Bankruptcy, PO Box
                                                                                                                  3251, Evansville, IN 47731-3251
518886540              + EDI: RMSC.COM
                                                                                        Jul 20 2021 00:23:00      Synchrony Bank, c/o of PRA Receivables
                                                                                                                  Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                                  23541-1021
518940195              + EDI: AIS.COM
                                                                                        Jul 20 2021 00:23:00      Verizon, by American InfoSource as agent, 4515
                                                                                                                  N Santa Fe Ave, Oklahoma City, OK 73118-7901

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
518885429                      Clarissa Young

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
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District/off: 0312-2                                              User: admin                                                            Page 2 of 2
Date Rcvd: Jul 19, 2021                                           Form ID: 148                                                         Total Noticed: 13

in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 21, 2021                                        Signature:          /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 19, 2021 at the address(es) listed below:
Name                             Email Address
Denise E. Carlon
                                 on behalf of Creditor HomeBridge Financial Services Inc. dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com

Marie-Ann Greenberg
                                 magecf@magtrustee.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov

Warren D. Levy
                                 on behalf of Debtor Cheryl P. Manuel jday@keaveneylegalgroup.com
                                 jdimaggio@keaveneylegalgroup.com;r46514@notify.bestcase.com;3295273420@filings.docketbird.com;casedriverecf@casedriv
                                 er.com


TOTAL: 4
